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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                       Case No. 1:22-cv-329

                       Plaintiff,                STATE OF IDAHO’S MOTION TO
                                                 RECONSIDER PRELIMINARY
 v.                                              INJUNCTION (Dkt. 95)

 THE STATE OF IDAHO,

                       Defendant.


       The State of Idaho moves the Court to reconsider its preliminary injunction and

Memorandum Decision and Order, Dkt. 95, vacate the preliminary injunction, and on

reconsideration deny the United States’ Motion for a Preliminary Injunction, Dkt. 17. This motion

for reconsideration is brought under Federal Rule of Civil Procedure 59(e). See Credit Suisse First

Boston Corp. v. Grunwald, 400 F.3d 1119, 1123-24 (9th Cir. 2005). A Memorandum in Support

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of State of Idaho’s Motion to Reconsider Preliminary Injunction (Dkt. 95) accompanies this

motion.

      DATED this 21st day of September, 2022.

                                               STATE OF IDAHO
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                                         By:     /s/ Brian V. Church
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STATE OF IDAHO’S MOTION TO RECONSIDER
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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